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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUÑIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, JOHN DOE, and THOMAS
   BAKER,                                                    Civil Action No. 3:17-cv-00072-NKM
                                                                 JURY TRIAL DEMANDED
                                  Plaintiffs,
          v.
   JASON KESSLER, et al.,
                                  Defendants.



                    PLAINTIFF’S MOTION TO VOLUNTARILY DISMISS
                    COUNT IV OF THE SECOND AMENDED COMPLAINT

          In advance of trial, in order to streamline the issues necessary to be resolved by the jury,

   Plaintiffs Muñiz, Sines, Blair, Martin, Alvarado, Baker, and Romero seek to voluntarily dismiss

   Count IV of the Second Amended Complaint, which asserts a claim of negligence per se against

   Defendant Fields. Although Fields and many other Defendants have consented to this voluntary

   dismissal—including Cantwell, Kessler, Damigo, Hill, Tubbs, Heimbach, Parrott, League of the

   South, Identity Evorpa, and Traditionalist Worker Party—for the reasons explained below, this

   Court should enter an order, pursuant to Federal Rule of Civil Procedure 41(a)(2), dismissing

   Count IV.

                                                ARGUMENT

          1.      A voluntary dismissal is available without court order only upon filing “a

   stipulation of dismissal signed by all parties who have appeared.” Fed. R. Civ. P. 41(a)(1)(A)(ii)

   (emphasis added). As the Court is aware, there are numerous Defendants who have been


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   unresponsive at every stage of this litigation, including in response to Plaintiffs’ request for their

   consent to voluntarily dismiss Plaintiffs’ negligence per se claim.1                       Accordingly, although

   Plaintiffs have been able to obtain Fields’s consent (among that of other Defendants), Plaintiffs

   move for an order voluntarily dismissing their negligence per se claim pursuant to Federal Rule of

   Civil Procedure Rule 41(a)(2). Cf. ECF 1053 (oral order dismissing claims pursuant to Rule

   41(a)(2)); Synovus Bank v. Bokke IV L.L.C., No. 1:11-cv-00071, 2014 WL 440244, at *2

   (W.D.N.C. Feb. 4, 2014) (entering an order pursuant to Rule 41(a)(2) dismissing certain claims

   due to plaintiff’s inability “to procure the consent of all of the parties to the action” for a stipulation

   of dismissal under Rule 41(a)(1)); Carmack v. Virginia, No. 1:18-cv-00031, 2018 WL 5817345,

   at *1 (W.D. Va. Nov. 6, 2018) (same).

            Rule 41(a)(2) permits voluntary dismissal “at the plaintiff’s request only by court order, on

   terms that the court considers proper,” and provides that, “[u]nless the order states otherwise,” the

   dismissal shall be “without prejudice.” Fed. R. Civ. P. 41(a)(2). According to the Fourth Circuit,

   because the purpose of Rule 41(a)(2) is “freely to allow voluntary dismissals unless the parties will

   be unfairly prejudiced,” district courts “should grant a Rule 41(a)(2) motion absent plain legal

   prejudice to the defendant.” Bridge Oil, Ltd. v. Green Pac. A/S, 321 F. App’x 244, 245 (4th Cir.

   2008) (citation omitted). Only “substantial[]” prejudice will do, and “[a] defendant cannot

   establish prejudice sufficient to defeat a Rule 41(a)(2) motion merely by showing that . . . it

   faces the prospect of a subsequent lawsuit.” Id. (internal citations omitted).

            2.       Because dismissal of Plaintiffs’ negligence per se claim against Fields would not

   prejudice any of the Defendants in this action, and in light of Fields’s consent to a voluntary


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    Plaintiffs attempted to contact all non-defaulted Defendants concerning Plaintiffs’ intent to voluntarily dismiss Count
   IV of the operative complaint. Defendants Fields, Cantwell, Kessler, Damigo, Hill, Tubbs, Heimbach, Parrott, League
   of the South, Identity Evorpa, and Traditionalist Worker Party responded to Plaintiffs’ inquiry. All of them consented
   to Plaintiffs’ dismissal of the negligence per se claim.

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   dismissal, this Court should enter an order dismissing Count IV of the Second Amended

   Complaint. In determining the potential prejudice created by a motion under Rule 41(a), a non-

   exhaustive list of factors is typically consulted, see Dean v. WLR Foods, Inc., 204 F.R.D. 75, 77

   (W.D. Va.), aff’d, 22 F. App’x 285 (4th Cir. 2001), which includes “the opposing party’s effort

   and expense in preparing for trial, excessive delay and lack of diligence on the part of the movant,

   and insufficient explanation of the need for a voluntary dismissal, as well as the present stage of

   litigation,” Howard v. Inova Health Care Services, 302 F. App’x 166, 178-179 (4th Cir. 2008)

   (internal quotation marks and citations omitted).

          Even putting the presumption in favor of voluntary dismissals to one side, none of those

   factors weighs against granting Plaintiffs’ motion. For one thing, it is unsurprising that all of the

   Defendants who responded to Plaintiffs’ inquiry concerning this voluntary dismissal consented to

   it, including Defendant Fields: granting Plaintiffs’ motion will not affect any Defendant other than

   Fields, and the negligence per se claim is intertwined with Plaintiffs’ other torts claims, such that

   this one claim in particular cannot be said to have led to any material marginal increase in “effort

   and expense” by Fields or any other Defendant. Howard, 302 F. App’x at 179; see also The SCO

   Grp., Inc. v. Novell, Inc., No. 2:04-cv-139, 2007 WL 2684537, at *7 (D. Utah Sept. 7, 2007)

   (noting lack of prejudice where “the parties have not gone to additional effort or expense in

   preparing separately” for the dismissed claim (emphasis added)). Moreover, Plaintiffs have

   sufficiently explained the need for dismissal: this Court has expressly recognized that “[t]he size

   and scope of trial . . . is substantial,” ECF 1146, and, given the logistical difficulties posed by

   the COVID-19 pandemic, pursuing a more direct legal strategy to streamline and shorten trial is

   an eminently proper ground for voluntary dismissal. See MidAtlantic International, Inc. v.

   MidAtlantic Minerals, Inc., No. 2:12-cv-169, 2013 WL 12107454, at *2 (E.D. Va. Dec. 30, 2013);



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   see also Novell, Inc., 2007 WL 2684537, at *7 (“It is a benefit to both the parties and the court to

   streamline the approaching trial.”). Furthermore, Fields has not filed any dispositive motion—not

   that “the mere filing of a motion for summary judgment” could be a basis for denying a Rule 41(a)

   motion. Fidelity Bank PLC v. N. Fox Shipping N.V., 242 Fed. App’x 84, 89 (4th Cir. 2007); cf.

   ECF 1053 (oral order dismissing claims pursuant to Rule 41(a)(2) after summary judgment

   briefing). And with or without the negligence per se claim against Fields, all Defendants—

   including Fields—have prepared for trial over intertwined theories of tort liability arising from the

   same discrete set of events. See Novell, Inc., 2007 WL 2684537, at *7.

          In short, especially given that all Defendants whom Plaintiffs could reach have consented

   to this voluntary dismissal (including Fields), and in light of the benefits of streamlining trial by

   eliminating one claim for the parties to litigate and the jury to resolve, this Court should enter an

   order pursuant to Rule 41(a)(2), dismissing the negligence per se claim.

                                         CONCLUSION

          For the foregoing reasons, Plaintiffs’ motion to voluntarily dismiss Count IV of the Second

   Amended Complaint should be granted.



     Date: October 15, 2021                             Respectfully submitted,

                                                        /s/ Jessica Phillips
                                                        Jessica Phillips (pro hac vice)
                                                        PAUL WEISS RIFKIND WHARTON &
                                                        GARRISON LLP
                                                        2001 K Street, NW
                                                        Washington, DC 20006




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     Of Counsel:                               Jessica Phillips (pro hac vice)
                                               Karen L. Dunn (pro hac vice)
     Roberta A. Kaplan (pro hac vice)          William A. Isaacson (pro hac vice)
     Julie E. Fink (pro hac vice)              Arpine S. Lawyer (pro hac vice)
     Gabrielle E. Tenzer (pro hac vice)        Agbeko Petty (pro hac vice)
     Michael L. Bloch (pro hac vice)           Giovanni Sanchez (pro hac vice)
     Yotam Barkai (pro hac vice)               Matteo Godi (pro hac vice)
     Emily C. Cole (pro hac vice)              PAUL WEISS RIFKIND WHARTON &
     Alexandra K. Conlon (pro hac vice)        GARRISON LLP
     Raymond P. Tolentino (pro hac vice)       2001 K Street, NW
     Jonathan R. Kay (pro hac vice)            Washington, DC 20006-1047
     Benjamin D. White (pro hac vice)          Telephone: (202) 223-7300
     KAPLAN HECKER & FINK LLP                  Fax: (202) 223-7420
     350 Fifth Avenue, Suite 7110              jphillips@paulweiss.com
     New York, NY 10118                        kdunn@paulweiss.com
     Telephone: (212) 763-0883                 wisaacson@paulweiss.com
     rkaplan@kaplanhecker.com                  alawyer@paulweiss.com
     jfink@kaplanhecker.com                    apetty@paulweiss.com
     gtenzer@kaplanhecker.com                  gsanchez@paulweiss.com
     mbloch@kaplanhecker.com                   mgodi@paulweiss.com
     ybarkai@kaplanhecker.com
     ecole@kaplanhecker.com                    Makiko Hiromi (pro hac vice)
     aconlon@kaplanhecker.com                  Nicholas A. Butto (pro hac vice)
     jkay@kaplanhecker.com                     PAUL WEISS RIFKIND WHARTON &
     bwhite@kaplanhecker.com                   GARRISON LLP
                                               1285 Avenue of the Americas
                                               New York, NY 10019-6064
                                               Telephone: (212) 373-3000
                                               Fax: (212) 757-3990
                                               mhiromi@paulweiss.com
                                               nbutto@paulweiss.com

     Alan Levine (pro hac vice)                Robert T. Cahill (VSB 38562)
     Philip Bowman (pro hac vice)              COOLEY LLP
     COOLEY LLP                                11951 Freedom Drive, 14th Floor
     55 Hudson Yards                           Reston, VA 20190-5656
     New York, NY 10001                        Telephone: (703) 456-8000
     Telephone: (212) 479-6260                 Fax: (703) 456-8100
     Fax: (212) 479-6275                       rcahil@cooley.com
     alevine@cooley.com
     pbowman@cooley.com




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     David E. Mills (pro hac vice)
     Joshua M. Siegel (VSB 73416)            J. Benjamin Rottenborn (VSB 84796)
     Caitlin B. Munley (pro hac vice)        WOODS ROGERS PLC
     Samantha A Strauss (pro hac vice)       10 South Jefferson St., Suite 1400
     Alexandra Eber (pro hac vice)           Roanoke, VA 24011
     Allegra K. Flamm (pro hac vice)         Telephone: (540) 983-7600
     Gemma Seidita (pro hac vice)            Fax: (540) 983-7711
     Khary J. Anderson (pro hac vice)        brottenborn@woodsrogers.com
     COOLEY LLP
     1299 Pennsylvania Avenue, NW
     Suite 700
     Washington, DC 20004
     Telephone: (202) 842-7800
     Fax: (202) 842-7899
     dmills@cooley.com
     jsiegel@cooley.com
     cmunley@cooley.com
     sastrauss@cooley.com
     aeber@cooley.com




                                             Counsel for Plaintiffs




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                                   CERTIFICATE OF SERVICE

   I hereby certify that on October 15, 2021, I filed the foregoing with the Clerk of Court through
   the CM/ECF system, which will send a notice of electronic filing to:

    Elmer Woodard                                      David L. Campbell
    5661 US Hwy 29                                     Justin Saunders Gravatt
    Blairs, VA 24527                                   Duane, Hauck, Davis & Gravatt, P.C.
    isuecrooks@comcast.net                             100 West Franklin Street, Suite 100
                                                       Richmond, VA 23220
    James E. Kolenich                                  dcampbell@dhdglaw.com
    Kolenich Law Office                                jgravatt@dhdglaw.com
    9435 Waterstone Blvd. #140
    Cincinnati, OH 45249                               Counsel for Defendant James A. Fields, Jr
    jek318@gmail.com
                                                       Bryan Jones
    Counsel for Defendants Jason Kessler,              106 W. South St., Suite 211
    Nathan Damigo, and Identity Europa, Inc.           Charlottesville, VA 22902
    (Identity Evropa)                                  bryan@bjoneslegal.com

                                                       Counsel for Defendants Michael Hill,
                                                       Michael Tubbs, and League of the South



    William Edward ReBrook, IV                         Joshua Smith
    The ReBrook Law Office                             Smith LLC
    6013 Clerkenwell Court                             807 Crane Avenue
    Burke, VA 22015                                    Pittsburgh, Pennsylvania 15216
    edward@rebrooklaw.com                              joshsmith2020@gmail.com

    Counsel for Defendants Jeff Schoep, Matthew        Counsel for Defendants Matthew Parrott,
    Heimbach, Matthew Parrott, Traditionalist          Matthew Heimbach, and Traditionalist
    Worker Party, National Socialist Movement,         Worker Party
    and Nationalist Front




                                                   1
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           I hereby certify that on October 15, 2021, I also served the following non-ECF
   participants via mail or electronic mail:

    Richard Spencer                                    Christopher Cantwell
    richardbspencer@icloud.com                         Christopher Cantwell 00991-509
    richardbspencer@gmail.com                          USP Marion, 4500 Prison Rd.
                                                       P.O. Box 2000
    Vanguard America                                   Marion, IL 62959
    c/o Dillon Hopper                                  Grady County Law Enforcement Center
    dillon_hopper@protonmail.com                       215 N. 3rd St. ‘
                                                       Chickasha, OK 73018
    Elliott Kline a/k/a Eli Mosley
    eli.f.mosley@gmail.com                             Robert “Azzmador” Ray
    deplorabletruth@gmail.com                          azzmador@gmail.com
    eli.r.kline@gmail.com




    Dated: October 15, 2021


                                                       /s/ Jessica Phillips

                                                       Jessica Phillips (pro hac vice)

                                                       PAUL WEISS RIFKIND WHARTON &
                                                       GARRISON LLP
                                                       Counsel for Plaintiffs




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